                                         Case 1:17-bk-12408-MB             Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09                   Desc
                                                                            Main Document     Page 1 of 8


                                           1
                                               SAMUEL R. MAIZEL (SBN 189301)
                                           2   TANIA M. MOYRON (SBN 235736)
                                               DENTONS US LLP
                                           3   601 South Figueroa Street, Suite 2500
                                               Los Angeles, California 90017-5704
                                           4   Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                                               Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
                                           5   Attorneys for Official Committee of Equity Security Holders

                                           6   RON BENDER (SBN 143364)
                                               MONICA Y. KIM (SBN 180139)
                                           7   KRIKOR J. MESHEFEJIAN (SBN 255030)
                                               LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                                           8   10250 Constellation Boulevard, Suite 1700
                                               Los Angeles, California 90067
                                           9   Telephone: (310) 229-1234; Facsimile: (310) 229-1244
                                               Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
                                          10   Attorneys for Chapter 11 Debtors and Debtors in Possession
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11                                  UNITED STATES BANKRUPTCY COURT
         DENTONS US LLP




                                          12                                   CENTRAL DISTRICT OF CALIFORNIA
            (213) 623-9300




                                          13                                    SAN FERNANDO VALLEY DIVISION

                                          14

                                          15   In re:                                                      Lead Case No.: 1:17-bk-12408-MB
                                                                                                           Jointly administered with:
                                          16   ICPW Liquidation Corporation, a California                  1:17-bk-12409-MB Chapter 11 Cases
                                               corporation,1
                                          17                  Debtor and Debtor in Possession. WITHDRAWAL OF OPPOSITION TO
                                                                                               MOTION OF JEFFREY CORDES AND
                                          18                                                   WILLIAM M. AISENBERG FOR RELIEF
                                               In re:                                          FROM THE AUTOMATIC STAY UNDER
                                          19                                                   11 U.S.C. 362 IN NONBANKRUPTCY
                                               ICPW Liquidation Corporation, a Nevada          FORUM [DOCKET NO. 169], JOINDER
                                                            2
                                          20   corporation,                                    [DOCKET NO. 168] AND SUPPLEMENT
                                                              Debtor and Debtor in Possession. THERETO [DOCKET NO. 422]
                                          21
                                                                                                           DATE:          February 27, 2018
                                          22        Affects:                                               TIME:          1:30 p.m.
                                                                                                           PLACE:         Courtroom “303”
                                          23   IZI Both Debtors                                                           21041 Burbank Boulevard
                                                                                                                          Woodland Hills, California 91367
                                          24         ICPW Liquidation Corporation, a California
                                                     corporation
                                          25
                                                     ICPW Liquidation Corporation, a Nevada
                                          26         corporation.
                                          27
                                               1
                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                          28   2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.



                                               106625418\V-1
                                         Case 1:17-bk-12408-MB          Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09               Desc
                                                                         Main Document     Page 2 of 8


                                           1               ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad

                                           2   Performance Wear Corporation, a California corporation, ICPW Liquidation Corporation, a

                                           3   Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

                                           4   corporation (collectively, the “Debtors”), and the Official Committee of Equity Security Holders

                                           5   (the “Equity Committee”), respectfully submit this Notice (the “Notice”), and respectfully

                                           6   represent as follows.

                                           7                    WITHDRAWAL OF OPPOSITION AND RELATED DOCUMENTS

                                           8               1.    By this Notice, (i) the Debtors withdraw their opposition [Dkt. 169] to the motion

                                           9   of Jeffrey Cordes and William M. Aisenberg (the “Former Officers”) for relief from the automatic
                                          10   stay under 11 U.S.C. § 362 (the “Relief From Stay Motion”) [Docket No. 132-136]; and (ii) the
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   Equity Committee hereby withdraws its joinder in the opposition to the Relief from Stay Motion
         DENTONS US LLP




                                          12   and the supplement thereto. [Dkt. Nos. 168 & 422].
            (213) 623-9300




                                          13               2.    The day before the petition date, on September 7, 2017, the Former Officers

                                          14   initiated a proceeding before the American Arbitration Association (the “AAA Proceeding”). In

                                          15   the AAA Proceeding, the Former Officers sought to recover from the Debtors certain severance

                                          16   payments in the amounts of $150,000 and $112,500, respectively, plus certain attorneys’ fees.

                                          17               3.    On October 3, 2017, the Former Officers filed proofs of claims against ICPW

                                          18   Liquidation Corporation, a California corporation (Claims Nos. 7 and 8) (the “Proofs of Claims”).

                                          19   In their Proofs of Claims, the Former Officers asserted claims to recovery the severance payments
                                          20   sought in the AAA Proceeding.

                                          21               4.    On October 20, 2017, the Former Officers filed the Relief From Stay Motion (the

                                          22   “Motion”) [Dkt. Nos. 132-136]. In seeking to compel arbitration, the Former Officers emphasized

                                          23   the strong federal policy in favor of arbitration and argued that this policy trumped the interests of

                                          24   the Bankruptcy Code.

                                          25               5.    The Debtors and the Equity Committee opposed the Motion at that time [Dkt Nos.

                                          26   168-169]. On December 7, 2017, the Court temporarily denied the Relief From Stay Motion and

                                          27   set related deadlines, including for the Debtors’ estates and/or the Equity Committee to file an
                                          28   adversary proceeding and claim objections against the Former Officers [Docket No. 302].

                                                                                                 1
                                               106625418\V-1
                                         Case 1:17-bk-12408-MB          Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09             Desc
                                                                         Main Document     Page 3 of 8


                                           1               6.    On November 21, 2017, the Debtors filed the Joint Motion For Order Granting

                                           2   Standing To Pursue Claims For The Benefit Of The Debtors’ Estates; And Approving Stipulation

                                           3   Between Debtors And Equity Committee Granting Standing (the “Assignment Motion”). [Docket

                                           4   No. 243]. On December 19, 2017, the Court granted the Assignment Motion [Docket No. 357].

                                           5               7.    On January 26, 2018, the Equity Committee also commenced an adversary

                                           6   proceeding [Adversary Proceeding No. 18-01011] against the Former and Officers based on their

                                           7   breaches of fiduciary duty and other violations of law while employed by the Debtor(s) (the

                                           8   “Adversary Complaint”).

                                           9               8.    On February 2, 2018, the Former Officers filed an objection to the Plan [Dkt. No.
                                          10   425]. In their objection, they continue to “reserve their rights to assert that the underlying
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   disputes should proceed in arbitration, as was contractually agreed among the parties.”
         DENTONS US LLP




                                          12               9.    On February 12, 2018, the Former Officers filed Claims No. 7 and 8 (the
            (213) 623-9300




                                          13   “Amended Proofs of Claim”). In the Amended Proofs of Claims, the Former Officers asserted,

                                          14   among other things, a new indemnity claim against ICPW Liquidation Corporation, a California

                                          15   corporation, and continued to maintain their objections to the Bankruptcy Court’s jurisdiction.

                                          16               10.   As set forth above, by this Notice, the Debtors and the Equity Committee hereby

                                          17   withdraw the opposition [Docket No. 168], the joinder [Docket No. 169] and supplement thereto

                                          18   [Docket No. 422] to the Relief From Stay Motion. Additionally, the Debtors and the Equity

                                          19   Committee consent to arbitration of the Former Officer’s severance claims and the Debtors’
                                          20   counterclaims and defenses based on the Former Officers’ various breaches of fiduciary duty and

                                          21   violation of law while employed by the Debtor(s).

                                          22               11.   At the upcoming status conference, the Equity Committee will request that the

                                          23   Court enter an order staying the claims asserted in the Adversary Complaint pending the

                                          24   resolution of the AAA Proceeding pursuant to 9 U.S.C. § 3. Those claims in the Adversary

                                          25   Complaint will be re-filed as Counterclaims in the AAA Proceeding to be adjudicated by the

                                          26   arbitration panel.

                                          27
                                          28

                                                                                                 2
                                               106625418\V-1
                                         Case 1:17-bk-12408-MB      Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09            Desc
                                                                     Main Document     Page 4 of 8


                                           1
                                               IC
                                                CPW LIQUID
                                                         DATION CO
                                                                 ORPORATIION, et                OFFICIAL COMMITT
                                                                                                               TEE OF EQU
                                                                                                                        UITY
                                           2   al..                                             HOLDERS
                                           3

                                           4
                                                                                             By:__________________
                                                                                                                 __________
                                           5   Byy: ___________________  ________               TANIA M. MOYRO     ON
                                                    RON BEN  NDER                               SAMUE EL R. MAIZ  ZEL
                                           6        KRIKOR J. MESHEF    FEJIAN               DENTONS US LLP
                                               LEEVENE, NE  EALE, BEND   DER, YOO & BRILL Attorneys foor the Officiial Committeee of Equity
                                           7   L.L.P.                                        Holders
                                               Atttorneys for Chapter 11 Debtors
                                                                         D       and Debtors
                                           8
                                               in Possession
                                           9

                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
         DENTONS US LLP




                                          12
            (213) 623-9300




                                          13

                                          14

                                          15

                                          16

                                          17

                                          18

                                          19

                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27
                                          28

                                                                                            3
                                               1066
                                                  625418\V-1
                                         Case 1:17-bk-12408-MB     Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09                 Desc
                                                                    Main Document     Page 5 of 8


                                           1
                                               ICPW LIQUIDATION CORPORATION, et                   OFFICIAL COMMITTEE OF EQUITY
                                           2   al.                                                HOLDERS
                                           3

                                           4   By: _________________________                      By:_/s/ Tania M. Moyron___________
                                                   RON BENDER                                        TANIA M. MOYRON
                                           5       KRIKOR J. MESHEFEJIAN                             SAMUEL R. MAIZEL
                                               LEVENE, NEALE, BENDER, YOO & BRILL                 DENTONS US LLP
                                           6   L.L.P.                                             Attorneys for the Official Committee of Equity
                                           7   Attorneys for Chapter 11 Debtors and Debtors       Holders
                                               in Possession
                                           8

                                           9
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11
         DENTONS US LLP




                                          12
            (213) 623-9300




                                          13

                                          14

                                          15

                                          16

                                          17

                                          18

                                          19
                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27
                                          28

                                                                                              3
                                               106625418\V-1
        Case 1:17-bk-12408-MB                     Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09                                       Desc
                                                   Main Document     Page 6 of 8


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is Suite
2500, 601 South Figueroa Street, Los Angeles, California 90017-5704.

A true and correct copy of the foregoing document entitled (specify): WITHDRAWAL OF OPPOSITION TO MOTION OF
JEFFREY CORDES AND WILLIAM M. AISENBERG FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C.
362 IN NONBANKRUPTCY FORUM [DOCKET NO. 169], JOINDER [DOCKET NO. 168] AND SUPPLEMENT THERETO
[DOCKET NO. 422] will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below.

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 20, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Shiva D. Beck                                                                   Counsel for William Aisenberg & Jeffrey Cordes (Creditors)
Gardere Wynne Sewell LLP                                                        T: 214 999 3000 / F: 214 999 4667
2021 McKinney Avenue, Suite 1600                                                E: sbeck@gardere.com
Dallas, TX 75201

Douglas Wolfe                                                                   ASM Capital V, L.P. (Creditor)
ASM Capital                                                                     T: 516 422 7100 / F: 516 422 7118
7600 Jericho Turnpike, Suite 302                                                E: dwoIfe@asmcapital.com
Woodbury, NY 11797

Matthew Gold                                                                    Counsel for Argo Partners (Creditor)
Argo Partners                                                                   T: 212 643 5444 / F: 212 643 6401
12 West 37th Street, 9th Floor                                                  E: courts@argopartners.net
New York, NY 10018

Aaron B. Craig                                                                  Counsel for Big Time Products, LLC (Interested Party)
King & Spalding LLP                                                             T: 213 443 4300 / F: 213 443 4310
633 West 5th Street, Suite 2300                                                 E: acraig/lperry@kslaw.com
Los Angeles, CA 90071-2049

Ron Bender                                                                      Counsel for ICPW Liquidation Corporation, a
Krikor J. Meshefejian                                                             California/Nevada corporation
Monica Y. Kim                                                                   T: 310 229 1234 / F: 310 229 1244
Levene Neale Bender Yoo & Brill LLP                                             E: rb/kjm/myk@lnbyb.com
10250 Constellation Boulevard, Suite 1700
Los Angeles, CA 90067

Cathrine M. Castaldi                                                            Counsel for Official Cmte. of Unsecured Creditors &
Brown Rudnick LLP                                                                 Province Inc.
2211 Michelson Drive, 7th Floor                                                 T: 949 752 7100 / F: 949 252 1514
Irvine, CA 92612                                                                E: ccastaldi@brownrudnick.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                            1
106626690\V-1
        Case 1:17-bk-12408-MB                     Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09                                       Desc
                                                   Main Document     Page 7 of 8


Susan K. Seflin                                                                 Counsel for Province Inc.
Brutzkus Gubner Rozansky Seror Weber LLP                                        T: 818 827 9210 / F: 818 827 9099
21650 Oxnard Street, Suite 500                                                  E: sseflin@bg.law
Woodland Hills, CA 91367

John M. Stern                                                                   Counsel for Texas Comptroller of Public Accounts
Office of the Attorney General                                                  T: 512 463 2100 / F: 512 475 2994
300 West 15th Street                                                            E: john.stern/bk-mbecker@oag.texas.gov
P.O. Box 12548
Austin, TX 78711-2548
Sharon Z. Weiss                                                                 Counsel for Radians Wareham Holdings, Inc., Radians, Inc.
Bryan Cave LLP                                                                    & Safety Supply Corporation
120 Broadway, Suite 300                                                         T: 310 576 2100 / F: 310 576 2200
Santa Monica, CA 90401-2386                                                     E: sharon.weiss/raul.morales/geri.anderson
                                                                                        @bryancave.com
Russell S. Clementson                                                           United States Trustee (SV)
S. Margaux Ross                                                                 T: 213 894 4494 / F: 213 894 0276
915 Wilshire Boulevard, Suite 1850                                              E: russell.clementson/margaux.ross/
Los Angeles, CA 90017                                                                   ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) February 20, 2018, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

BPE&H, An Accountancy Corporation                                               T: 818 914 7100 / F: 818 914 7101
21300 Victory Boulevard, Suite 520                                              E: https://bpehcpas.com/contact/
Woodland Hills, CA 91367-8047

Ronald Chez                                                                     Equity Holder
1524 North Astor Street                                                         E: rlchez@rcn.com
Chicago, IL 60610-2057

E. Franklin Childress, Jr.                                                      Counsel to Radians Wareham Holdings
Baker Donelson Bearman Caldwell & Berkowitz PC                                  T: 901 526 2000 / F: 901 577 2303
First Tennessee Building, Suite 2000                                            E: fchildress@bakerdonelson.com
165 Madison Avenue
Memphis, TN 38103-2752

CRG Financial LLC                                                               T: 800 211 9656 / F:
100 Union Avenue                                                                E: https://www.crgfinancial.com/
Cresskill, NJ 07626-2141

Craig-Hallum Capital Group LLC                                                  T: 612 334 6300 / F: 612 334 6399
222 South 9th Street, Suite 350                                                 E: http://www.craig-hallum.com/contact-us/
Minneapolis, MN 55402-3380

Scott Jarus                                                                     Equity Holder
938 Duncan Avenue                                                               E: scott.jarus@verizon.net
Manhattan Beach, CA 90266-6626




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                            2
106626690\V-1
        Case 1:17-bk-12408-MB                     Doc 452 Filed 02/20/18 Entered 02/20/18 18:02:09                                       Desc
                                                   Main Document     Page 8 of 8


Patrick W. O'Brien                                                              Equity Holder
301 Whitmore Lane                                                               E: obrien.pat@me.com
Lake Forest, IL 60045-4707

Office of Unemployment Compensation Tax Services                                T: 717            / F: 717 214 5463
Department of Labor and Industry                                                E: http://www.uc.pa.gov/employers-uc-services-uc-
Commonwealth of Pennsylvania                                                              tax/Pages/default.aspx
651 Boas Street, Room 702
Harrisburg, PA 17121-0751

Andrew T Solomon                                                                Counsel for Official Committee of Equity Security Holders
Solomon & Cramer LLP                                                            T: 212 884 9102 / F: 516 368 3896
1441 Broadway, Suite 6026                                                       E: asolomon@solomoncramer.com
New York, NY 10018-1905

Stubbs Alderton & Markiles, LLP                                                 T: 818 444 4500 / F: 818 444 4520
15260 Ventura Boulevard, 20th Floor                                             E: https://stubbsalderton.com/contact/
Sherman Oaks, CA 91403-5351
                                                                        * * *
Employment Development Dept.                                               Franchise Tax Board
Bankruptcy Group MIC 92E                                                   Bankruptcy Section, MS: A-340
P.O. Box 826880                                                            P.O. Box 2952
Sacramento, CA 94280-0001                                                  Sacramento, CA 95812-2952

Internal Revenue Service                                                        Radians Wareham Holding, Inc.
P.O. Box 7346                                                                   Attn: Mike Tutor, CEO
Philadelphia, PA 19101-7346                                                     5305 Distriplex Farms Drive
                                                                                Memphis, TN 38141-8231

State Board of Equalization                                                     U.S. Securities and Exchange Commission
Account Information Group, MIC: 29                                              Attn: Bankruptcy Counsel
P.O. Box 942879                                                                 444 South Flower Street, Suite 900
Sacramento, CA 94279-0029                                                       Los Angeles, CA 90071-9591

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 20, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than the next business day after the
document is filed.

Honorable Martin R. Barash                                                       To the Judge’s Dropbox w/ NEF behind
U.S. Bankruptcy Court, Central District of California                            By Next Business Day [Trkg#________________]
21041 Burbank Boulevard, Suite 342 / Courtroom 303                               By Facsimile to ____________
Woodland Hills, CA 91367-6603                                                    Proposed Order by Email to
                                                                                      __________@cacd.uscourts.gov

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


February 20, 2018
 Date
                               Frederick Kalve
                               Printed Name
                                                                            Z A,tiwatZtkcc
                                                                             Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                            3
106626690\V-1
